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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 BRIAN T.     SMITH   and   JONATHAN    C.
 CALIANOS

                        Plaintiffs,

 vs.                                     Case No.   2:11-cv-676-FtM-29DNF

 BANK OF AMERICA, N.A., successor by
 merger to BAC Home Loans Servicing,
 L.P.   and    MORTGAGE   ELECTRONIC
 REGISTRATION SYSTEMS, INC.,

                     Defendants.
 ___________________________________
 BANK OF AMERICA, N.A.

                        Third      Party
                        Plaintiff,

 vs.

 SMITHCAL REALTY TRUST, BRIAN T.
 SMITH and JONATHAN C. CALIANOS, in
 their representative capacity as
 trustees for the SMITHCAL REALTY
 TRUST,

                     Third     Party
                     Defendants.
 ___________________________________


                             OPINION AND ORDER

       This matter comes before the Court on Plaintiffs’ Motion for

 Summary Judgment (Doc. #104) and Defendants’ Motion for Summary

 Judgment (Doc. #109) filed on October 15, 2013.          Plaintiffs filed

 an Objection to Defendants’ Motion for Summary Judgment (Doc. #113)

 and defendants filed an Opposition to Plaintiffs’ Motion for

 Summary Judgment (Doc. #114) on October 29, 2013.          Also before the
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 Court is Plaintiffs’ Motion for Entry of Judgment as a Matter of

 Law on Third-Party Plaintiffs’ Amended Counterclaim (Doc. #132),

 and Defendants’ Motion for Final Dismissal with Prejudice, or in

 the alternative, for the Entry of an Appropriate Spoliation Remedy

 (Doc. #136) filed on December 12, 2013.               Defendants filed a

 Response to Plaintiffs’ Motion for Entry of Judgment as a Matter of

 Law on Third-Party Plaintiffs’ Amended Counterclaim (Doc. #150) on

 December 26, 2013, and plaintiffs filed an Objection to Defendants’

 Motion for Final Dismissal (Doc. #161) on January 17, 2014.

 I.   Background

       On August 4, 2005, plaintiffs Brian T. Smith and Jonathan C.

 Calianos1 purchased a condominium located at 28111 Tamberine Court,

 Unit 1321, Bonita Springs, Florida (the property) for the sum of

 $399,900.00.      (Doc. #98-1.)     In order to finance the purchase,

 plaintiffs obtained a loan in the amount of $240,000.00 from MLD

 Mortgage, Inc. (MLD) by executing a promissory note (the Original

 Note) that granted MLD a mortgage on the property.               (Id.)    On

 August 25, 2005, the mortgage was assigned to defendant Mortgage

 Electronic    Registration    Systems,     Inc.   (MERS).   (Doc.   #17-3.)

 Shortly thereafter, MLD sold the loan to Countrywide Home Loans,

 Inc. (Countrywide) and plaintiffs were directed to make payments to

 Countrywide Home Loans Servicing, LP. (Doc. #98, ¶ 14; Doc. #44-2,



       1
       Although plaintiffs are proceeding pro se, Calianos is a
 licensed attorney in the Commonwealth of Massachusetts.
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 ¶ 4.)        In October 2009, Countrywide Home Loans Servicing, LP,

 merged into BAC Home Loans Servicing, LP, and on July 1, 2011, BAC

 Home Loans Servicing, LP, merged into defendant Bank of America,

 N.A. (Bank of America).        Bank of America then began servicing the

 loan under its own name.        (Doc. #44-2, ¶ 4.)

        On September 22, 2005, Countrywide sold the loan to the

 Federal Home Loan Mortgage Corporation (Freddie Mac). (Doc. #44-1,

 ¶¶ 4-5.)      The Original Note, however, did not comply with Freddie

 Mac’s guidelines and needed to be re-executed before the sale could

 be finalized.          Countrywide and MLD asked Calianos to sign a

 corrected note, but he refused to do so unless the Original Note

 was returned to him prior to the execution of the corrected note.

 (Id.    ¶¶    6-9.)    Countrywide   was       unable   to     promptly   obtain   a

 corrected note and was forced to repurchase the loan on November

 29, 2005.      (Id. ¶ 9.)

        Countrywide’s records state that MLD advised Countrywide that

 Calianos      agreed   to   re-execute     the   note    and    that   Countrywide

 received a new note that superseded and replaced the Original Note

 (the Superseding Note), together with an allonge from MLD to

 Countrywide, on or about April 14, 2006.                (Id. ¶¶ 11-12.)      After

 receiving the Superseding Note, Countrywide released the Original

 Note to MLD and sold the loan to the Federal National Mortgage

 Association (Fannie Mae) on November 10, 2006.                  (Id. ¶¶ 14-15.)




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       The Original Note was eventually stamped “VOID” and returned

 to plaintiffs; however, the date on which the note was returned

 remains unknown.       Sometime after receiving the Original Note,

 plaintiffs began receiving payment requests from Bank of America.

 Calianos, knowing that he possessed the Original Note, contacted

 Bank of America to challenge the validity of the debt and asked for

 a copy of the note on file.2       In response to the request, Bank of

 America sent Calianos a copy of the Original Note that lacked the

 “VOID” stamp.     (Doc. #98-3.)     Calianos informed Bank of America

 that he was in possession of the Original Note and stated that it

 could not seek payment under the note because he was in possession

 of the voided note.      Bank of America maintained that they had the

 Original Note on file and continued to seek payment.               Although

 plaintiffs believed that Bank of America was attempting to collect

 on a void note, they continued to make monthly payments under the

 loan to protect their credit.

       Despite their persistent challenges, plaintiffs were unable to

 convince Bank of America that the debt was no longer valid.          Due to

 the impasse, plaintiffs initiated this action on November 30, 2011,

 and ceased making payments on the loan. As a result of plaintiffs’

 failure to pay, Bank of America reported to the major credit

 reporting agencies that plaintiffs were 30-days delinquent on their


       2
       Plaintiffs also do not recall when they began disputing the
 debt, but defendants posit that it was first challenged on January
 28, 2011.
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 December 2011 payment.         (Doc. #109-1, ¶ 5.)         In response to the

 reporting, plaintiffs filed a series of disputes regarding the

 negative      reporting   on   the   grounds   that      Bank    of    America   was

 attempting to collect payments under a void note.                 (Id. ¶ 6.)

       Following the commencement of this action, Bank of America

 discovered      the   Superseding    Note     in   its    files       and   provided

 plaintiffs with a copy of the document.                   Upon receipt of the

 Superseding Note, plaintiffs informed counsel for Bank of America

 that they do not recall being asked to re-execute the note and deny

 doing so.       (Doc. #98-8.)    Plaintiffs subsequently amended their

 complaint to dispute the validity of the note.              More specifically,

 plaintiffs contend that the signatures on the Superseding Note were

 forged.

       Fannie Mae is the current owner of the loan and the mortgage

 on the property is held by Bank of America.3                     Bank of America

 maintains that it managed only one account for the loan with only

 one principal balance, and as of November 1, 2012, the unpaid

 principal on the loan was $239,872.54.              (Doc. #44-2, ¶¶ 8, 10.)

 Plaintiffs, however, believe that they paid off the loan, but have

 offered nothing more than an assertion of payment.

       Plaintiffs are now proceeding on their Third Amended Complaint

 against Bank of America and MERS.            (Doc. #98.)        In Count I of the



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           MERS assigned the mortgage to Bank of America on February 10,
 2012.      (Doc. #44-2, ¶ 6.)
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 Third Amended Complaint, plaintiffs seek a declaratory judgment

 against Bank of America releasing and discharging the mortgage

 attached to the property.               Count II asserts that Bank of America

 violated the Fair Credit Reporting Act (FCRA) and Count III alleges

 that Bank of America committed civil fraud.                 In Count IV, the final

 count of the Third Amended Complaint, plaintiffs assert a claim

 against Bank of America and MERS pursuant to the federal civil

 Racketeer Influenced and Corrupt Organizations Act (RICO).

        On   November     13,    2013,     Bank    of    America    filed    an   amended

 counterclaim       against      Smith     and    Calianos,     and     a    third-party

 complaint against the SmithCal Realty Trust and Smith and Calianos

 in their representative capacity as trustees for the trust.                        (Doc.

 #120.)      The Amended Counterclaim and Third-Party Complaint asserts

 claims      for   declaratory         relief,    unjust    enrichment/constructive

 trust, and breach of contract.              (Id.)

        The Court will first address defendants’ motion for final

 dismissal or spoliation sanctions followed by the cross-motions for

 summary      judgment.          The     Court    will     conclude     by   addressing

 plaintiffs’ motion          for entry of judgment as a matter of law.

 II.    Motion for Final Dismissal or Spoliation Sanctions

        Defendants request that the Court dismiss plaintiffs’ claims

 with   prejudice,      or    in   the     alternative,      enter      an   appropriate

 spoliation        remedy       because     plaintiffs       admitted        that    they

 intentionally       destroyed         evidence     relevant       to   their     claims.


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 Spoliation is the intentional destruction of evidence or the

 significant and meaningful alteration of a document or instrument.

 Green Leaf Nursery v. E.I. DuPont De Nemours & Co., 341 F.3d 1292,

 1308 (11th Cir. 2003).        In order to establish spoliation, the

 moving party must prove that: (1) the evidence existed at one time,

 (2) the alleged spoliator had a duty to preserve the evidence, and

 (3) the evidence was crucial to the movant’s prima facie case or

 defense.    Se. Mech. Servs., Inc. v. Brody, 657 F. Supp. 2d 1293,

 1299 (M.D. Fla. 2009).      The imposition of sanctions for spoliation

 is only appropriate when there is evidence of bad faith.           Flury v.

 Daimler Chrysler Corp., 427 F.3d 939, 944 (11th Cir. 2005).            Mere

 negligence in losing or destroying records is not enough for an

 adverse inference instruction. Bashir v. AMTRAK, 119 F.3d 929, 931

 (11th Cir. 1997).

       Defendants assert that plaintiffs admitted during discovery

 that they intentionally destroyed evidence regarding their alleged

 payment of the loan.       During his deposition, Calianos testified

 that he honestly thinks that the loan was paid off, but cannot

 prove it one way or another because he generally endorses third

 party checks to the creditor to pay off debts, a method of payment

 that does not leave a paper trail.         When asked if he could look to

 see what deals had closed during the time frame in which he

 believes the loan was paid that might have enabled him to pay off

 the debt, Calianos responded that “it’s not a paper trail I would


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 have.       There’s no way I would be able to do this.”              Calianos

 further stated that he would have destroyed his records regarding

 any deals during the relevant period after seven years.                 (Doc.

 #136-1, Calianos Dep. 41:1-20, Nov. 5, 2012.)

        According   to   defendants,   this   testimony   establishes     that

 documents relating to plaintiffs’ assertion of payment once existed

 and that the document were destroyed in bad faith.                  The Court

 disagrees.      The testimony reveals that Calianos may have destroyed

 the records of other business deals during the relevant time period

 and that it may have been relevant to the issues at hand, but the

 testimony does not support a finding of bad faith.             The evidence

 that was allegedly destroyed is, as discussed below, vital to

 plaintiffs’ case and the prejudice created by the intentional

 destruction of such evidence, if it even existed, would be more

 felt by plaintiffs than defendants.             Plaintiffs may have been

 careless or negligent in the maintenance of their records, but this

 does not amount to bad faith; therefore, defendants’ motion for

 final dismissal or spoliations sanctions is denied.

 III.    Cross-Motions for Summary Judgment

        A.    Standard of Review

        Summary    judgment   is   appropriate   only   when   the   Court   is

 satisfied that “there is no genuine issue as to any material fact

 and that the moving party is entitled to judgment as a matter of

 law.”       Fed. R. Civ. P. 56(c).    “An issue of fact is ‘genuine’’ if


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 the record taken as a whole could lead a rational trier of fact to

 find for the nonmoving party.”       Baby Buddies, Inc. v. Toys “R” Us,

 Inc., 611 F.3d 1308, 1314 (11th Cir. 2010).          A fact is “material”

 if it may affect the outcome of the suit under governing law.

 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).              The

 moving party bears the burden of identifying those portions of the

 pleadings, depositions, answers to interrogatories, admissions,

 and/or affidavits which it believes demonstrate the absence of a

 genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S.

 317, 323 (1986); Hickson Corp. v. N. Crossarm Co., 357 F.3d 1256,

 1259-60 (11th Cir. 2004).       To avoid the entry of summary judgment,

 a party faced with a properly supported summary judgment motion

 must   come   forward    with   extrinsic   evidence,   i.e.,    affidavits,

 depositions, answers to interrogatories, and/or admissions, which

 are sufficient to establish the existence of the essential elements

 to that party’s case, and the elements on which that party will

 bear the burden of proof at trial.            Celotex, 477 U.S. at 322;

 Hilburn v. Murata Elecs. N. Am., Inc., 181 F.3d 1220, 1225 (11th

 Cir. 1999).

        In ruling on a motion for summary judgment, the Court views

 all evidence and draws all reasonable inferences in favor of the

 non-moving party.       Scott v. Harris, 550 U.S. 372, 380 (2007); Tana

 v. Dantanna’s, 611 F.3d 767, 772 (11th Cir. 2010).              However, “if

 reasonable minds might differ on the inferences arising from


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  undisputed facts, then the court should deny summary judgment.”

  St. Charles Foods, Inc. v. America’s Favorite Chicken Co., 198 F.3d

  815, 819 (11th Cir. 1999) (quoting Warrior Tombigbee Transp. Co. v.

  M/V Nan Fung, 695 F.2d 1294, 1296 (11th Cir. 1983) (finding summary

  judgment “may be inappropriate even where the parties agree on the

  basic facts, but disagree about the factual inferences that should

  be drawn from these facts”)).               “If a reasonable fact finder

  evaluating the evidence could draw more than one inference from the

  facts, and if that inference introduces a genuine issue of material

  fact, then the court should not grant summary judgment.”            Allen v.

  Bd. of Pub. Educ., 495 F.3d 1306, 1315 (11th Cir. 2007).

         B.    Count I - Declaratory Relief

         Plaintiffs claim that they are entitled to summary judgment on

  Count I of the Third Amended Complaint because Bank of America is

  not the holder of a valid note nor does it represent the holder of

  a valid note. In support of their position, plaintiffs assert that

  they   are    in   possession   of   the    Original   Note   and   that   the

  Superseding Note cannot be enforced because it is a forgery.               Bank

  of America, however, contends that plaintiffs’ theory of a forged

  instrument is irrelevant because the debt was neither satisfied nor

  intentionally discharged.       Bank of America further asserts that it

  is entitled to summary judgment on its claim for declaratory relief

  because plaintiffs have failed to pay off the debt and there is no

  evidence that debt was intentionally discharged.


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       In Florida, the enforceability of a negotiable instrument is

  governed by the Uniform Commercial Code (UCC).               The UCC provides

  that both the holder of an instrument and a nonholder in possession

  of the instrument who has the rights of a holder are entitled to

  enforce a negotiable instrument. Fla. Stat. § 673.3011. According

  to plaintiffs, Bank of America is not entitled to collect on the

  debt because it is no longer the holder of a valid note.                 It is

  undisputed that plaintiffs are in possession of the Original Note,

  but a question remains as to whether the obligation to pay under

  the instrument was discharged.

       The obligation to pay an instrument may be discharged by

  payment or by an intentional voluntary act of the person entitled

  to   enforce    instrument.       See        Fla.    Stat.   §§   673.6021(1),

  673.6041(1)(a).      Such voluntary acts include the surrender of the

  instrument to the party, destruction, mutilation, or cancellation

  of the instrument, cancellation or striking out of the party’s

  signature, or the addition of words to the instrument indicating

  discharge.     Fla. Stat. § 673.6041(1)(a).             The cancellation or

  renunciation    of   a   promissory     note    is    ineffective   if   it   is

  unintentional or procured by mistake.                 All Real Estate Title

  Servs., Inc. v. Minqh Quang Vuu, 67 So. 3d 260, 262 (Fla. 2d DCA

  2010) (citing Gover v. Home & City Sav. Bank, 574 So. 2d 306, 306

  (Fla. 1st DCA 1991)).     Accordingly, if the evidence shows that the

  debt was not satisfied or intentionally discharged, plaintiffs


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  remain liable for the obligation and the authenticity of the

  Superseding Note becomes irrelevant.         After reviewing the record

  and the Amended Joint Pretrial Statement, the Court concludes that

  there is a factual dispute as to whether the debt was satisfied or

  intentionally discharged.      (Doc. #169, p. 9.)     Because there is a

  dispute of material fact, the cross-motions for summary judgment as

  to Count I are denied.

        C.   Count II - Fair Credit Reporting Act

        Under 15 U.S.C. § 1681s-2(b) of the FCRA, a furnisher of

  credit information must conduct an investigation after receiving

  notice that a consumer disputes certain credit information.              15

  U.S.C. § 1681-2(b)(1). In Count II of the Third Amended Complaint,

  plaintiffs allege that Bank of America reported them 30 days late

  for both December 2011 and January 2012, and willfully failed to

  conduct any investigation after receiving notice of their dispute.

        Bank of America contends that it is entitled to summary

  judgment on Count II because the undisputed evidence shows that an

  investigation was completed for each dispute filed.         In support of

  its contentions, Bank of America submitted the affidavit of Jane

  Cashel, an operations team manager at Bank of America. (Doc. #109-

  1.)    The affidavit states that Bank of America only reported

  plaintiffs 30 days delinquent on their December 2011 loan payment

  and that no further reports of delinquencies were made.                 The

  affidavit further states that Bank of America received six dispute


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  notifications challenging the validity of the debt and that it

  investigated each dispute by reviewing its servicing system, the

  payment history       profile    and/or       payment   rating.        On   all     such

  occasions, the servicing system reflected that plaintiffs were 30

  days delinquent on January 12, 2012, and the results of the

  investigations were reported to the credit reporting agencies.

  (Id.)

       Plaintiffs contend that Ms. Cashel’s failure to address the

  alleged late reporting for January 2012 in her affidavit proves

  that Bank of America failed to conduct an investigation. The Court

  disagrees.      Plaintiffs’ argument goes to the adequacy of the

  investigation, not whether an investigation was conducted. Because

  plaintiffs    limited    Count    II     to    the    failure    to    conduct         any

  investigation,    any    argument        regarding       the    adequacy       of      the

  investigation    is    irrelevant.        It     is   also     worth   noting       that

  plaintiffs’ dispute notifications only challenged the validity of

  the debt, not that the alleged reporting for January 2012 was

  erroneous.    Due to the absence of any evidence showing that Bank of

  America failed to conduct any investigation, the Court finds that

  summary judgment in favor of Bank of America is appropriate as to

  this count.

       D.   Count III - Fraud

       Bank of America contends that it is entitled to summary

  judgment on     plaintiffs’      claim    for    fraud    because      there      is    no


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  evidence of an actionable misrepresentation and even if there was

  an actionable misrepresentation, plaintiffs admitted that they did

  not rely on any of the statements.           In response, plaintiffs simply

  assert that the Court determined that they have adequately pled a

  claim for fraud and that they can prove all of the alleged facts.

         There is a dispute as to whether Florida law or Massachusetts

  law governs the claim for fraud due to the fact that plaintiffs

  live in Massachusetts.        The laws governing a claim for fraud in

  both jurisdictions are nearly identical except that Florida law

  allows for an award of punitive damages and Massachusetts law does

  not.   After reviewing defendants’ motion for summary judgment, the

  Court concludes that it does not need to resolve this issue because

  summary judgment is due to be granted under the laws of both

  jurisdictions.

         In   order   to    prevail       on     a    claim    for    fraudulent

  misrepresentation, a plaintiff must prove:              (1) a false statement

  concerning a material fact; (2) the representor's knowledge that

  the    representation    is    false;        (3)   an   intention   that   the

  representation induce another to act on it; and (4) consequent

  injury by the party acting in reliance on the representation.              See

  Butler v. Yusem, 44 So. 3d 102, 105 (Fla. 2010); Twin Fires Inv.,

  LLC v. Morgan Stanley Dean Witter & Co., 837 N.E.2d 1121, 1134

  (Mass. 2005) (citations omitted).            Plaintiffs allege that Bank of

  America’s false statements of material fact include its assertion


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  that it held the Original Note and could enforce it, and that it

  could make negative reports to credit reporting agencies, commence

  foreclosure proceedings, conduct property inspections, and charge

  late fees in the event of nonpayment.

       Generally, a false statement concerning a material fact is

  only actionable if it is based on a past or existing fact, not a

  statement of opinion or promise of future action.                      See Azar v.

  National City Bank, 382 F. App’x 880, 884 (11th Cir. 2010) (citing

  Mejia v. Jurich, 781 So. 2d 1175, 1177 (Fla. 3d DCA 2001)); Cumis

  Ins. Soc’y, Inc. v. BJ’s Wholesale Club, Inc., 918 N.E.2d 36, 49

  (Mass.   2009)       (holding   that    false   statements        of   opinion,    of

  conditions to exist in the future, and promises to perform an act

  cannot sustain a claim of fraud). Bank of America’s statement that

  it held the Original Note qualifies as a false statement of a past

  or existing fact, but the remaining statements do not.                             Any

  statement regarding what could happen in the event of nonpayment

  constitutes      a    promise   of     future   action      and   cannot    sustain

  plaintiffs’    claim;      thus,     plaintiffs       are   limited    to   Bank   of

  America’s statement that it held and could enforce the Original

  Note.

       Bank of America routinely told plaintiffs that it was in

  possession    of     and   could     enforce    the    Original    Note,    but    in

  retrospect, it is clear that it did not possess the Original Note.

  This, however, does not necessarily mean that the representations


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  were false or made with the intent to deceive.             Plaintiffs assert

  in their pleading that Bank of America “knew there was a serious

  question” as to whether the copy of the Original Note it was

  relying on was enforceable.          (Doc. #98, ¶ 110.)        However, the

  undisputed evidence shows that MLD sent Countrywide the Superseding

  Note with an allonge in April 2006 and that the loan was then sold

  to Fannie Mae.       Under these circumstances, Bank of America was

  entitled to enforce the Superseding Note because it had no reason

  to question the authenticity of the instrument.            See Fla. Stat. §

  673.3021(1) (a “holder in due course” is a holder who takes an

  instrument without “apparent evidence of forgery or alternation”

  for value, in good faith, and without notice of certain claims and

  defenses); Fla Stat. § 673.3011 (the holder of an instrument and a

  nonholder in possession of the instrument who has the rights of a

  holder are entitled to enforce a negotiable instrument).             See also

  Fla. Stat. § 673.3081(1) (“the signature [on an instrument] is

  presumed to be authentic and authorized . . . .”).           Bank of America

  may have been negligent in discovering the Superseding Note at such

  a   late   time,   but   this   discrepancy   does   not   convert   Bank   of

  America’s mistaken basis for enforcement of the debt into the

  fraudulent or deceitful conduct alleged.         Because Bank of America

  was in possession of a presumptively valid Superseding Note, and

  there is no evidence that Bank of America knew or should have known




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  otherwise at the time, its statements as a matter of law do not

  amount to false statements of material fact.

        Plaintiffs’ claim for fraud also fails because the undisputed

  evidence   shows   that   plaintiffs          did   not    rely   on   any    of    the

  representations    regarding     the     Original         Note.     Generally,      “a

  recipient may rely on the truth of a representation, even though

  its   falsity   could     have   been     ascertained         had      he    made    an

  investigation, unless he knows the representation to be false or

  its falsity is obvious to him.”          Butler, 44 So. 3d at 105 (citing

  Besett v. Basnett, 389 So. 2d 995, 998 (Fla. 1980)).                         See also

  Massachusetts Laborers’ Health & Welfare Fund v. Phillip Morris,

  Inc., 62 F. Supp. 2d 236, 242-243 (D. Mass. 1999) (same) (applying

  Mass. law).     The evidence undeniably shows that plaintiffs knew

  they were in possession of the Original Note and even attempted to

  convince Bank of America of that fact.               (See Doc. #98, ¶¶ 19-27;

  Doc. #109-3: Calianos Dep. 34:24-37:1, Nov. 5, 2012.) Furthermore,

  plaintiffs believed that Bank of America could not collect under

  the note and acknowledged that they continued to make payments

  under protest to protect their credit.              (Doc. #98, ¶ 23.) Based on

  plaintiffs’ admissions, it is clear that they did not rely on the

  truth of Bank of America’s statements regarding possession of the

  Original Note; thus, plaintiffs are unable to prove reliance.

  Because plaintiffs are unable to establish a false statement of




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  material fact or reliance on a false statement of material fact,

  defendants’ motion for summary judgment as to Count III is granted.

       E.    Count IV - Civil RICO

       Defendants assert that they are entitled to summary judgment

  as to Count IV because plaintiffs have failed show a single element

  of a RICO claim.        In response to defendants’ argument, plaintiffs

  again argue that the motion should be denied because the Court

  previously determined that they have stated a plausible claim and

  can prove all of the facts alleged in the complaint, but have

  failed    to    come   forth   with   any     evidence   in   support   of   their

  assertion.

       It is unclear as to which provision of 18 U.S.C. § 1962

  plaintiffs are proceeding, because Count IV cites to 18 U.S.C. §

  1962(a) but sets forth the standard for a claim brought under 18

  U.S.C. § 1962(c).       Despite this ambiguity, defendants contend that

  plaintiffs lack the evidence to prevail under either provision.

                 1.   18 U.S.C. § 1962(a)

       Section 1962(a) makes it “unlawful for any person who has

  received any income derived, directly or indirectly, from a pattern

  of racketeering activity . . . to use or invest, directly or

  indirectly, any part of such income, or the proceeds of such income

  . . . [in the] operation of, any enterprise which is engaged in, or

  the activities of which affect, interstate or foreign commerce.”

  18 U.S.C. § 1962(a).        An enterprise under § 1962(a) is “something


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  acquired through the use of illegal activities or by money obtained

  from illegal activities.”        NOW v. Scheidler, 510 U.S. 249, 259

  (1994).    See also Davis-Lynch, Inc. v. Moreno, 667 F.3d 539, 550

  (5th Cir. 2012).      In other words, a § 1962(a) enterprise is “the

  victim of unlawful activity,” not the vehicle through which that

  activity is committed.     Id.   Here, plaintiffs allege that they are

  the victims of unlawful activity, not Bank of America or MERS.

  Because plaintiffs have failed present any evidence establishing an

  enterprise under § 1962(a), the Court finds that defendants are

  entitled to summary judgment as to a claim under § 1962(a).

             2.   18 U.S.C. § 1962(c)

         Section 1962(c) of the RICO Act makes it unlawful “for any

  person employed by or associated with any enterprise engaged in, or

  the activities of which affect, interstate or foreign commerce, to

  conduct or participate, directly or indirectly, in the conduct of

  such   enterprise’s    affairs   through   a   pattern   of   racketeering

  activity.”   18 U.S.C. § 1962(c).     To establish a federal civil RICO

  violation under § 1962(c), the plaintiff must prove (1) conduct (2)

  of an enterprise (3) through a pattern (4) of racketeering activity

  and (5) injury to “business or property” (6) that was “by reason

  of” the substantive RICO violation. Williams v. Mohawk Indus., 465

  F.3d 1277, 1282 (11th Cir. 2006), cert. denied, 549 U.S. 1260

  (2007) (citing 18 U.S.C. §§ 1962(c), 1964(c)).            To establish a




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  pattern of racketeering activity, plaintiffs must establish at

  least two related acts of mail or wire fraud.            18 U.S.C. § 1961(5).

       Defendants contend that plaintiffs claim under § 1962(c) fails

  because the record is devoid of any acts of mail or wire fraud.

  Plaintiffs allege that defendants were engaged in a scheme to

  collect payments from plaintiffs on a promissory note knowing that

  Bank of America did not hold the note and that it was void in any

  event.    In order to carry out this scheme, plaintiffs allege that

  Bank of America and MERS made numerous misrepresentations to

  plaintiffs using both mail and wire, indicating that they held the

  Original Note and forced plaintiffs to continue paying under the

  Original Note through threats of economic harm.

       In order to establish mail and wire fraud, a plaintiff must

  establish (1) defendants’ intentional participation in a scheme to

  defraud   (2)   the   plaintiffs    of      money   or   property   (3)   using

  interstate   mails    and   wires   in   furtherance     of   the   scheme   (4)

  resulting in plaintiffs’ injury (5) that can be quantified as a

  specific amount of damages.          See 18 U.S.C. §§ 1341, 1343.             “A

  scheme to defraud requires proof of a material misrepresentation,

  or the omission or concealment of a material fact calculated to

  deceive another out of money or property.”                 United States v.

  Maxwell, 579 F.3d 1282, 1299 (11th Cir. 2009) (citing United States

  v. Svete, 556 F.3d 1157, 1161, 1169 (11th Cir. 2009)).




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        Plaintiffs once again assert that Bank of America committed

  fraud by attempting to collect a debt under a note that it did not

  hold. As previously discussed, Bank of America’s assertion that it

  possessed    the    Original     Note       does    not    amount    to    a     material

  misrepresentation because it possessed the presumptively valid

  Superseding   Note.         To   the   extent       that   plaintiffs          claim    that

  defendants    made    threats      of       financial      harm,     the       statements

  identified do not qualify as misrepresentations and cannot sustain

  plaintiffs’ RICO claim. Plaintiffs have also failed to present any

  evidence establishing that MERS engaged in any conduct supporting

  their RICO claim.      The record reflects that MERS was assigned the

  mortgage executed by plaintiffs on August 23, 2005, and remained in

  possession of the mortgage until it was transferred to Bank of

  America on February 10, 2012.               (Docs. ## 17-3, 44-2.)                Bank of

  America admitted that, with respect to the loans it services, it

  provides direction to MERS concerning the discharge of mortgage

  liens.   (Doc. #98-9, p. 6.)           Such conduct merely amounts to normal

  business activities.        Based on the foregoing, the Court finds that

  plaintiffs have failed to present any evidence in support of their

  RICO claim; therefore, defendants motion for summary judgment as to

  Count IV is granted.

  IV.   Plaintiffs’ Motion for Entry of Judgment as a Matter of Law

        Plaintiffs     seek    judgment       as     to   Bank    of   America’s         Third

  Counterclaim,      which    alleges     a    claim      for    breach     of    contract,


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  pursuant to Fed. R. Civ. P. 12(b)(6).         Because plaintiffs move for

  relief pursuant Fed. R. Civ. P. 12(b)(6), the Court will treat and

  refer to the motion as a motion to dismiss, not a motion for

  judgment.

       On November 27, 2013, plaintiffs filed an Answer to the

  Amended   Counterclaim    (Doc.    #124)    and   on   December   12,   2013,

  plaintiffs filed their motion to dismiss (Doc. #132).             A motion to

  dismiss is improper once a responsive pleading has been filed.

  Skrtich v. Thornton, 280 F.3d 1295, 1306 (11th Cir. 2002).                An

  Answer filed contemporaneously with the filing of a Motion to

  Dismiss   renders   the   motion   moot     and   makes   it   “procedurally

  impossible for the Court to rule on the motion to dismiss.”               See

  Brisk v. City of Miami Beach, Fla., 709 F. Supp. 1146, 1147 (S.D.

  Fla. 1989).     A defendant is not required to file an answer until

  court disposes of the motion to dismiss.          Lockwood v. Beasley, 211

  F. App’x 873 (11th Cir. 2006).             Because plaintiffs’ motion to

  dismiss was filed after their answer, it will be denied as moot.

       Accordingly, it is now

       ORDERED:

       1.   Defendants’ Motion for Final Dismissal with Prejudice, or

  in the alternative, for the Entry of an Appropriate Spoliation

  Remedy (Doc. #136) is DENIED.

       2.     Plaintiffs’ Motion for Summary Judgment (Doc. #104) is

  DENIED.


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       3.      Defendants’ Motion for Summary Judgment (Doc. #109) is

  GRANTED in part and DENIED in part.         Summary judgment is granted as

  to Counts II, III, and IV.        The motion is otherwise denied.       The

  Clerk   is    directed   to   terminate    defendant   Mortgage   Electronic

  Registration Systems, Inc. and enter judgment accordingly.

       4.      Plaintiffs’ Motion for Entry of Judgment as a Matter of

  Law on Third-Party Plaintiffs’ Amended Counterclaim (Doc. #132) is

  DENIED AS MOOT.

       DONE AND ORDERED at Fort Myers, Florida, this            6th     day of

  March, 2014.




  Copies:

  Pro se plaintiffs
  Counsel of record




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